Case 2:04-cr-20243-SH|\/| Document 97 Filed 08/24/05 Page 1 of 2 Page|D 137

IN THE UNITED STATES DISTRICT COURT (? j
FOR THE WESTERN DISTRICT OF TENNESSEE Hl.ED BY D.C.

WESTERN DIVISION
05 AUG 214 PH |2= is
UNITED STATES OF AMERICA ]'|‘UQLAS M GOU_D
CLERK1 U.S. .1.;TR#,CT COIBT
V' Cr. No. 04-20243-Ma WfD §§ ?;`=j, P_i§MPHS

RONDA WHITE

ORDER FINDING MOTION FOR BOND MOOT
It appears to the court that on July 28, 2005, lodge Mays ruled upon the defendants motion to be
considered for bond, submitted to the court on July 28, 2005 and Subsequently referred to the undersigned

Therefore, it is ORDERED that the defendants motion to be considered for bond is DENIED AS MOOT.

§ .WMM @_.

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

DATE: August 23, 2005

This document entered on the docket sheet in compliance

with Rule 55 major 32(b) FRCrP on g '-29 §§

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 97 in
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Honorable Samuel Mays
US DISTRICT COURT

